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   AO 108 (Rev. 06/09) Application for a Warrant to Seize Property Subject to Forfeiture




                                                                  UNITED STATES DISTRICT COURT
                                                                                                                          for the



                             In the Matter of the Seizure of
                                                                                                DistrictDistrict
                                                                                           __________    of Nebraska
                                                                                                                 of __________

                                                                                                                                  )
                                                                                                                                                        6($/('
                          ((Briefly  f y describe the pproperty      p y to be seized))                                           )
drugstrack.com,silkroadmeds.com,silkroadmedsonline.com, bestdrugcorner.com, rxeasymeds.com, pandapharmacy.com, legitrxshop.com,
                                                                                                                                  )   Case No.   8:21MJ16
healthmartpharma.com, legitrxonline.com, rxpharmacyusa.com,wandbd.com, chemandpills.com, pharmacyinn.com, rxdrugsorder.com, my-
carepharmacy.com, drugs-orderonline.com, pillspoint.com,onlinerxhub.com, pharmacy-xi.com, rxdrugpharmacy.com, drugs-point.com,
                                                                                                                                  )
apexmedico,net, rxpharmaplus,net, rxmedzonline,net,shopdrugsonline,net, medsovernight.net, thedrugsonline,net,legitdrugs,net,     )
legitpharmacy.net, rxovernight.net, and onedrugstore.net
                                                                           APPLICATION FOR A WARRANT
                                                                    TO SEIZE PROPERTY SUBJECT TO FORFEITURE


           I, a federal law enforcement officer or attorney for the government, request a seizure warrant and state under
   penalty of perjury that I have reason to believe that the following property in the                  District of
             Nebraska            is subject to forfeiture to the United States of America under    21     U.S.C. §
               853                   DQG86& (describe the property):

     See Attachment A




                    The application is based on these facts:
     See Attached Affidavit in Support of an Application for a Seizure Warrant.




                    ✔
                    u Continued on the attached sheet.


                                                                                                                                                     Applicant’s signature

                                                                                                                                                  SA Joshua D. Black, DEA
                                                                                                                                                     Printed name and title
  □       Sworn to before me and signed in my presence.
  ,t-
   Sworn to before
      Sworn        me andme
              to before   signed in my presence.
                             by telephone   or other
           reliable electronic means .


   Date: 1/6/2021
                                                                                                                                                       Judge’s signature

   City and state: Omaha, Nebraska                                                                                                    Michael D. Nelson, United States Magistrate Judge
                                                                                                                                                     Printed name and title
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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF NEBRASKA




    UNITED STATES OF AMERICA                             )       Case No.:
                                                         )
                   v.                                    )       Filed Under Seal
                                                         )
    drugstrack.com, silkroadmeds.com,                    )
    silkroadmedsonline.com, bestdrugcorner.com,          )
    rxeasymeds.com, pandapharmacy.com,
    legitrxshop.com, healthmartpharma.com,               )
    legitrxonline.com, rxpharmacyusa.com,                )
    wandbd.com, chemandpills.com,
    pharmacyinn.com, rxdrugsorder.com, my-               )
    carepharmacy.com, drugs-orderonline.com,             )
    pillspoint.com, onlinerxhub.com, pharmacy-
                                                         )
    xl.com, rxdrugpharmacy.com, drugs-point.com,
    apexmedico.net, rxpharmaplus.net,                    )
    rxmedzonline.net, shopdrugsonline.net,               )
    medsovernight.net, thedrugsonline.net,
    legitdrugs.net, legitpharmacy.net,                   )
    rxovernight.net, and onedrugstore.net                )
                                                         )
                                                         )



                   AFFIDAVIT IN SUPPORT OF SEIZURE WARRANT

              I, Special Agent Joshua Black, being duly sworn, hereby declare as follows:

                                      INTRODUCTION

       1.     I am a Special Agent with the Drug Enforcement Administration (DEA) and have

been so employed since October 2016. I am currently assigned to the Omaha Division Office,

charged with investigating drug trafficking and money laundering violations under Titles 18 and

21 of the United States Code. I have received 20 weeks of specialized training in Quantico,
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Virginia, pertaining to drug trafficking, money laundering, undercover operations and electronic

and physical surveillance procedures. Before becoming a Special Agent with the DEA, your

Affiant was employed by the City of Papillion Police Department, Papillion, Nebraska for

approximately seven years. I have been involved in numerous investigations dealing with the

possession, manufacture, distribution, and importation of controlled substances.

       2.      In my work as a Special Agent with the DEA, I have been involved in controlled

purchases, surveillance, electronic surveillance, arrest of drug traffickers, interviewing of drug

traffickers, trash pulls, and the execution of search warrants on residences, businesses, vehicles

and electronic devices. As a result, I have arrested individuals for violating State and Federal

statutes regarding the possession, manufacture, transportation and sale of controlled substances. I

have conducted and have been associated with investigations involving the interception of wire

communications and electronic communications obtained from cellular telephone devices and

smart phones. I am familiar with the ways in which drug traffickers conduct business, including,

but not limited to, their methods of importing and distributing controlled substances, their use of

cellular telephones, their used of computers and smart phones and their use of numerical codes

and code words to conduct their transactions.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

      4.     This affidavit is made in support of an application for seizure of the following
domain names:


drugstrack.com, silkroadmeds.com, silkroadmedsonline.com, bestdrugcorner.com,
rxeasymeds.com, pandapharmacy.com, legitrxshop.com, healthmartpharma.com,
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legitrxonline.com, rxpharmacyusa.com, wandbd.com, chemandpills.com,
pharmacyinn.com, rxdrugsorder.com, my-carepharmacy.com, drugs-orderonline.com,
pillspoint.com, onlinerxhub.com, pharmacy-xl.com, rxdrugpharmacy.com, drugs-
point.com, apexmedico.net, rxpharmaplus.net, rxmedzonline.net, shopdrugsonline.net,
medsovernight.net, thedrugsonline.net, legitdrugs.net, legitpharmacy.net, rxovernight.net,
and onedrugstore.net

hereinafter referred to as the Subject Domain Names.

       5.      As set forth below, there is probable cause to believe that the Subject Domain

Names are property used, or intended to be used, to commit or facilitate violations of Title 21

U.S.C. § 841 (distribution of a controlled substance) and Title 21 U.S.C. § 846 (conspiracy to

distribute a controlled substance), and subject to seizure and forfeiture pursuant to Title 21

U.S.C. § 853, and Title 18 U.S.C. §§ 981 & 982.

       6.      The procedure by which the government will seize the Subject Domain Names is

described in Attachment A hereto and below.

                            BACKGROUND ON DOMAIN NAMES

       7.      Based on my training and experience and information learned from others, I am

aware of the following:

       8.      Internet Protocol Address: An Internet Protocol address (IP address) is a unique

numeric address used by computers on the Internet. An IP Address is a series of four numbers,

each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every computer attached to

the Internet must be assigned an IP address so that Internet traffic sent from and directed to that

computer may be directed properly from its source to its destination. An IP address acts much

like a home or business street address -- it enables computers connected to the Internet to

properly route traffic to each other. The assignment of IP addresses to computers connected to

the Internet is controlled by ISPs.

       9.      Domain Name: A domain name is a simple, easy-to-remember way for humans
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to identify computers on the Internet, using a series of characters (e.g., letters, numbers, or other

characters) that correspond with a particular IP address. For example, “usdoj.gov” and

“cnn.com” are domain names.

          10.   Domain Name System: The domain name system (“DNS”) is, among other

things, a hierarchical convention for domain names. Domain names are composed of one or

more parts, or “labels,” that are delimited by periods, such as “www.example.com.” The

hierarchy of domains descends from right to left; each label to the left specifies a subdivision, or

subdomain, of the domain on the right. The right-most label conveys the “top-level” domain.

For example, the domain name “www.example.com” means that the computer assigned that

name is in the “.com” top-level domain, the “example” second-level domain, and is the web

server.

          11.   Domain Name Servers: DNS servers are computers connected to the Internet that

convert, or resolve, domain names into Internet Protocol (“IP”) addresses.

          12.   Registry: For each top-level domain (such as “.com”), there is a single company,

called a “registry,” that determines which second-level domain resolves to which IP address. For

example, the registry for the “.com” and “.net” top-level domains are VeriSign, Inc., which has

its headquarters at 12061 Bluemont Way, Reston, Virginia.

          13.   Registrar & Registrant: Domain names may be purchased through a registrar,

which acts as the intermediary between the registry and the purchasers of the domain name. The

individual or business that purchases, or registers, a domain name is called a “registrant.”

Registrants control the IP address, and thus the computer, to which their domain name resolves.

Thus, a registrant may easily move a domain name to another computer anywhere in the world.

Typically, a registrar will provide a registrant with the ability to change the IP address a
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particular IP address resolves through an online interface. Registrars typically maintain

customer and billing information about the registrants who used their domain name registration

services.

       14.     Whois: A "Whois" search provides publicly available information as to which

entity is responsible for a particular IP address or domain name. A Whois record for a particular

IP address or domain name will list a range of IP addresses that that IP address falls within and

the entity responsible for that IP address range and domain name. For example, a Whois record

for the domain name XYZ.COM might list an IP address range of 12.345.67.0- 12.345.67.99 and

list Company ABC as the responsible entity. In this example, Company ABC would be

responsible for the domain name XYZ.COM and IP addresses 12.345.67.0- 12.345.67.99.

                                    CASE BACKGROUND

       15.     Since April 2018, the Drug Enforcement Administration (DEA) Omaha Division

Office, in coordination with the Food and Drug Administration (FDA) Houston office, have been

investigating the drug trafficking and money laundering activities of Asif ALI, Farhan ALI,

Fezan ALI, Avnish MISHRA, Mohammad Nazmul HAQUE, Rick KELLEY, Joseph MACKE,

and their associates; hereinafter referred to as the Silkroad Meds Drug Trafficking Organization

(DTO). Agents believe that Silkroad Meds DTO controls a narcotics distribution and money

laundering network operating in Pakistan, India, Philippines, Italy, Spain, and the United States,

and is responsible for the distribution of counterfeit pharmaceutical drugs worldwide utilizing

various domains to engage with “customers,” various shipping companies for deliveries, and

various financial institutions for the collection of payments related to narcotics sales. The DTO

utilizes a number of domains on the internet to advertise controlled pharmaceutical drugs for

sale. Each of the domains provide the same or similar products for sale.
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       16.      In April 2018, DEA received a tip from Mallinckrodt Pharmaceuticals, a US

company, that the company’s morphine-sulphate pills were being advertised for sale on the

domain, silkroadmeds.com. The representative for Mallinckrodt Pharmaceuticals denied the

company has a relationship with silkroadmeds.com, and the representative claimed that any

product purported by silkroadmeds.com to be produced by Mallinckrodt Pharmaceuticals is more

than likely a counterfeit product. Investigators inspected the domain and observed numerous

brand name pharmaceutical drugs for sale on the site. The site doesn't require customers to have

a prescription to order controlled substances and it uses Western Union and MoneyGram for

customers to remit payments.

       17.      Between April 2018 and September 2020, agents performed five controlled

purchases of oxycodone, morphine-sulfate, Adderall, atorvastatin, risperidone, and Cialis pills.

             a. April 24, 2018 – A controlled purchase was made through the silkroadmeds.com

                domain for 60 morphine-sulfate 30mg pills and 30 oxycodone 40mg pills for

                $456.00, in which a prescription was not required. On April 27, 2018, the

                payment was submitted via Money Gram to Lahore, Pakistan. On June 4, 2018, a

                small brown paper envelope was received in an undercover Omaha, Nebraska

                United States Postal Service (USPS) post office box from Manila, Philippines.

                The envelope contained 50 small round blue pills with “M” imprinted on one side

                and “30” imprinted on the other side. The pills were sent to the DEA North

                Central Laboratory, and concluded the 50 pills were counterfeit and did not

                contain oxycodone. The chemical analysis revealed the pills were made of heroin,

                caffeine, acetaminophen, methorphan, and 06-monoacetylmorphine.

             b. June 29, 2018 – A controlled purchase was made through the silkroadmeds.com
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      domain for 315 oxycodone 30mg pills for $1,950.75, in which a prescription was

      not required. The payment was submitted via Money Gram to Lahore, Pakistan.

      On July 12, 2018, a small brown paper envelope was received in an undercover

      Omaha, Nebraska USPS post office box from Manila, Philippines. The envelope

      contained 315 small round blue pills with “M” imprinted on one side and “30”

      imprinted on the other side. The pills were sent to the DEA North Central

      Laboratory, and concluded the 315 pills did not contain oxycodone. The chemical

      analysis revealed the pills were made of heroin, caffeine, and 06-

      monoacetylmorphine.

   c. July 12, 2018 – A controlled purchase was made through the silkroadmeds.com

      domain for 90 Adderall 30mg tablets, 200 Lipitor (Atorvastatin) 20mg tablets, 90

      Risperdal (risperidone) 4mg tablets, 30 oxycodone 80mg tablets, and 30

      oxycodone 40mg tablets for $1,438.00, in which a prescription was not required.

      On July 23, 2018, the payment was submitted via Western Union to Pakistan. On

      August 22, 2018, a white colored envelope was received in an undercover

      Tomball, Texas USPS post office box from Quezon City, Philippines. The

      envelope only contained 100 pink colored tablets with “30” on one side and the

      letters “AD” on the other side. The pills were sent to the Food and Drug

      Administration (FDA) for analysis. The chemical analysis revealed the pills were

      counterfeit and made of ketamine and methorphan, and did not contain

      amphetamine mixture (Adderall).

   d. October 18, 2018 – A controlled purchase was made through the

      silkroadmedsonline.com domain for 90 Adderall 30mg tablets, 30 oxycodone
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                40mg tablets, 60 morphine-sulphate 60mg tablets, and 60 tablets of Cialis for

                $1,053.00, in which a prescription was not required. On October 31, 2018, the

                payment was submitted via Western Union to Pakistan. On August 22, 2018, a

                small brown colored envelope was received in an undercover Cypress, Texas

                United Parcel Service (UPS) post office box from Greenheights Village, Manila,

                Philippines. The envelope only contained 40 suspected oxycodone 30mg pills and

                100 suspected Adderall 30mg tablets. The pills were sent to the Food and Drug

                Administration (FDA) for analysis. The chemical analysis revealed the pills were

                counterfeit and made of ketamine, methorphan, and caffeine.

             e. September 10, 2020 – A controlled purchase was made through the

                silkroadmeds.com domain for 60 OxyContin (oxycodone) 80mg pills for $795.00,

                in which a prescription was not required. On September 17, 2020, the payment

                was submitted via Money Gram to Lahore, Pakistan. On September 22, 2020,

                investigators sent an email to silkroadmeds.com asking for a tracking number for

                the shipment. On September 29, 2020, silkroadmeds.com responded back, “we

                have Oxi Out of stock at this time & we have send you 60 pills of morphine & 60

                pills of Percocet both are for pain killer. You should must be getyour parcel don’t

                you worry about that we are not scammer.”

       18.      During the initial undercover buy in April 2018, an email was sent from

busniesspluss@gmail.com to the undercover email address used for the transaction, in which a

tracking number was provided. The tracking number was tracked from Manila, Philippines to

Omaha, Nebraska. On June 4, 2018, agents received the package and the contents were later

found to be counterfeit oxycodone pills. In July 2018, SA Frank Feden executed a federal search
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warrant on Google account busniesspluss@gmail.com.

       19.     After reviewing the data received from Google, agents discovered the email

account had a recovery email and Pakistani phone number: rickpaul38@gmail.com and 92-347-

041-3699. A recovery email address is a separate email address that clients can list on their email

accounts that if a client becomes locked out of their email account, they can request a password

reset in which the new password can be sent to them at the recovery email. On August 23, 2018,

a federal search warrant was executed on Google account rickpaul38@gmail.com.

       20.     An analysis of the email content of rickpaul38@gmail.com revealed this account

was receiving email copies of customer drug orders from the following domains:

medscareonline.com, overallpharmacy.us, usrxmedsonline.com, overthcounter.com,

overthcounter.org, overallpharmacy.com, usdrugsaver.com, us2us-rx.com, drugs-order.net,

zampharma.com, drugsplace.com, oneplushealthcare.net, rxdrugpharmacy.com,

onlinerxhub.com, pillspharma.com, legitrxshop.com, rxstuff.net, mpzmail.com,

pharmadaddy.biz, rxpharmacyline.com, apexmedico.net, rxpharmaplus.net, uspharmacyhub.com,

drugs-point.com, silkroadmeds.com, and silkroadmedsonline.com. Currently, only the following

domains are active and currently advertising controlled pharmaceutical drugs for sale:

overallpharmacy.com, rxdrugpharmacy.com, onlinerxhub.com, legitrxshop.com,

apexmedico.net, rxpharmaplus.net, drugs-point.com, silkroadmeds.com, and

silkroadmedsonline.com.

       21.     The rickpaul38@gmail.com account had numerous excel spreadsheets, HTML

docs and a zipped drive containing back up information for Pharmadaddy.bz on its Google

Drive. The spreadsheets detailed customer information and orders as well as payment

information. The spreadsheets also contained shipping information and business expenses. The
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HTML docs contained comments associated with different spreadsheets.

       22.    Based on the information received from the rickpaul38@gmail.com account, the

Google account had listed other Gmail accounts on its Access Control List allowing those

accounts access to its spreadsheets or had requested access to the spreadsheets. On March 27,

2019, SA Feden executed a federal search warrant to Google for the following Google accounts:

healthmartpharma@gmail.com, pharmacypoint6@gmail.com, rx.shiping@gmail.com,

website7038@gmail.com, davidrx2016@gmail.com, jamesbrown6070@gmail.com,

fairnuman@gmail.com, bulk2usa@gmail.com, thedrugsonline365@gmail.com,

rxpharmaplus2@gmail.com, deluxepharmacy1@gmail.com, faizanali629@gmail.com,

snankls@gmail.com, bestdrugcorner@gmail.com, dynamicsteriods@gmail.com,

lamilois6@gmail.com, buyrzonline@gmail.com, avnishmishra18@gmail.com,

meds.wholesupply@gmail.com, and basharatrasheed4@gmail.com.


       23.    Based on a federal search warrant executed on February 22, 2019 to Oath Inc for

haque88@aol.com, an analysis of that email account revealed the recovery email account was

taylorleo576@gmail.com. A federal search warrant was then executed on March 28, 2019 to

Google on account taylorleo576@gmail.com.


       24.    Based on a review of the data received from the federal search warrant that was

executed on March 27, 2019, SA Feden executed another federal search warrant to Google on

October 10, 2019 on Google accounts mtayyab04@gmail.com, don786.fa56@gmail.com,

starkeyintl1@gmail.com, and vasilica.cristea76@gmail.com.


       25.    Based on a review of the data received from the federal search warrant that was

executed on March 27, 2019, SA Feden executed another federal search warrant to Google on
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April 1, 2020 on Google accounts Jackethen77@gmail.com, Alexandercolin007@gmail.com,

Shaigee2266@gmail.com, and Sajidmehmood.official@gmail.com.


       26.     Based on a review of the data received from the federal search warrant that was

executed on March 27, 2019, SA Feden executed federal search warrant to Oath Inc. on April 3,

2020 on account goharalirajput@yahoo.com.


       27.     After executing all of the federal search warrants on the numerous email accounts,

investigators then analyzed the data received from those warrants. Investigators identified over

one-hundred (100) domains, in which some had been operating as far back as 2012, that were

being utilized to facilitate the sale and distribution of controlled pharmaceutical drugs

worldwide. After analyzing the data from all of the email search warrants, investigators located

countless emails, spreadsheets, word documents, and numerous other types of files attached to

the emails, in which the Subject Domain Names were being utilized to facilitate the sale and

distribution of controlled pharmaceutical drugs worldwide. Investigators determined that the

thirty-one (31) Subject Domain Names are active and currently facilitating the sale and

distribution of controlled pharmaceutical drugs worldwide.

                               THE SUBJECT DOMAIN NAME

       28.     As described above, each of the Subject Domains is currently being used, or has

historically been utilized, to advertise the sale of, communicate with individuals for the sale of,

and distribution of Schedule 1-5 controlled substances, with none of the Subject Domains

requiring a prescription as required by United States law.

       29.     A search of publicly available WHOIS domain name registration records revealed

that the Subject Domains were registered on specific dates and times to the registrar in the table
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            below. This table includes the registrant, if available, and the registry for each domain. The

            registrars Guangdong Nicenic Technology Co. Ltd, Deep Dive Domains LLC, and Dreamscape

            Networks International Pte Ltd are entities that allow domain owners to keep their contact details

            private during the domain name registration process.

                        Date
Domain                               Registrar                      Registrar Headquarters      Registrant                   Registry
                        Registered
                                     PDR LTD. D/B/A
apexmedico.net           4/20/2018                                  Burlington, Massachusetts   Privacy Protect, LLC         Verisign Inc
                                     Publicdomainregistry.com
                                     Dreamscape Networks            Sydney South, NSW,
bestdrugcorner.com        4/3/2018                                                              Private Registry Authority   Verisign Inc
                                     International PTE LTD          Australia
chemandpills.com        10/13/2018   Namesilo, LLC                  Phoenix, Arizona            See PrivacyGuardian.org      Verisign Inc
                                     PDR LTD. D/B/A
drugs-orderonline.com    3/25/2019                                  Burlington, Massachusetts   Privacy Protect, LLC         Verisign Inc
                                     Publicdomainregistry.com
                                     Guangdong Nicenic Technology
drugs-point.com          5/25/2016                                  Hong Kong, China            Kept Private                 Verisign Inc
                                     Co., Ltd.
drugstrack.com            6/7/2017   Moniker Online Services LLC    Fort Lauderdale, Florida    Moniker Privacy Services     Verisign Inc
healthmartpharma.com      2/3/2015   Mesh Digital Limited           Hayes, Middlesex, England   Identity Protect Limited     Verisign Inc
                                     PDR LTD. D/B/A
legitdrugs.net           2/13/2019                                  Burlington, Massachusetts   Privacy Protect, LLC         Verisign Inc
                                     Publicdomainregistry.com
                                     PDR LTD. D/B/A                 Simpsonville, South
legitpharmacy.net        3/17/2019                                                              Pills Factory                Verisign Inc
                                     Publicdomainregistry.com       Carolina
legitrxonline.com        3/28/2018   Deep Dive Domains, LLC         Jacksonville, Florida       Kept Private                 Verisign Inc
legitrxshop.com          6/19/2017   OnlineNIC Inc                  Oakland, California         Rxhosts                      Verisign Inc
                                     PDR LTD. D/B/A
medsovernight.net        2/12/2019                                  Burlington, Massachusetts   Privacy Protect, LLC         Verisign Inc
                                     Publicdomainregistry.com
                                     PDR LTD. D/B/A
my-carepharmacy.com      3/18/2019                                  Burlington, Massachusetts   Privacy Protect, LLC         Verisign Inc
                                     Publicdomainregistry.com
                                     PDR LTD. D/B/A
onedrugstore.net          2/6/2019                                  Burlington, Massachusetts   Pills Factory                Verisign Inc
                                     Publicdomainregistry.com
onlinerxhub.com         12/21/2015   Moniker Online Services LLC    Fort Lauderdale, Florida    Moniker Privacy Services     Verisign Inc
pandapharmacy.com       10/22/2014   Mesh Digital Limited           Hayes, Middlesex, England   Identity Protect Limited     Verisign Inc
pharmacyinn.com          1/19/2019   Namesilo, LLC                  Phoenix, Arizona            See PrivacyGuardian.org      Verisign Inc
pharmacy-xl.com          8/10/2016   Mesh Digital Limited           Hayes, Middlesex, England   Identity Protect Limited     Verisign Inc
                                     Dreamscape Networks            Sydney South, NSW,
pillspoint.com           9/25/2015                                                              Private Registry Authority   Verisign Inc
                                     International PTE LTD          Australia
rxdrugpharmacy.com      10/18/2016   Moniker Online Services LLC    Fort Lauderdale, Florida    Moniker Privacy Services     Verisign Inc
rxdrugsorder.com         3/13/2019   Namesilo, LLC                  Phoenix, Arizona            See PrivacyGuardian.org      Verisign Inc
                                     Guangdong Nicenic Technology
rxeasymeds.com           11/8/2014                                  Honk Kong, China            Kept Private                 Verisign Inc
                                     Co., Ltd.
                                     Dreamscape Networks            Sydney South, NSW,
rxmedzonline.net         8/27/2019                                                              Private Registry Authority   Verisign Inc
                                     International PTE LTD          Australia
rxovernight.net          2/11/2019   Dynadot LLC                    San Mateo, California       No Information               Verisign Inc
rxpharmacyusa.com        2/17/2018   Dropcatch.com 1330 LLC         Denver, Colorado            No Information               Verisign Inc
                                     Dreamscape Networks
rxpharmaplus.net         8/15/2018                                  Kept Private                Kept Private                 Verisign Inc
                                     International PTE LTD
                                     Dreamscape Networks
shopdrugsonline.net      7/31/2019                                  Singapore, Singapore        Kept Private                 Verisign Inc
                                     International PTE LTD
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                            Date
Domain                                   Registrar                      Registrar Headquarters      Registrant                Registry
                            Registered
                                         Guangdong Nicenic Technology
silkroadmeds.com             2/25/2016                                  Multan, Punjab, Pakistan    Kept Private              Verisign Inc
                                         Co.
                                         Guangdong Nicenic Technology
silkroadmedsonline.com       5/24/2018                                  Multan, Punjab, Pakistan    Kept Private              Verisign Inc
                                         Co.
                                         PDR LTD. D/B/A
thedrugsonline.net            3/7/2019                                  Burlington, Massachusetts   Privacy Protect, LLC      Verisign Inc
                                         Publicdomainregistry.com
wandbd.com                   6/28/2019   Namesilo, LLC                  Phoenix, Arizona            See PrivacyGuardian.org   Verisign Inc



                      30.       The top-level domain for the Subject Domain Names ending in “.com” and “.net”

            is Verisign, Inc., which has its headquarters at 12061 Bluemont Way, Reston, Virginia.

            CRIMINAL AND CIVIL STATUTORY BASIS FOR SEIZURE AND FORFEITURE

                      31.        Title 21, U.S.C. § 853(a) states that any person found in violation of Title 21

            U.S.C. § 841(a), shall forfeit to the United States any property derived from any proceeds the

            person obtained, directly or indirectly, and any property used, or intended to be used, to commit

            or facilitate the commission of the violation of Title 21 U.S.C. § 841(a). (emphasis added; see

            also Title 28 U.S.C. § 2461(c)). Title 21, U.S.C. § 846 provides that any person who attempts or

            conspires to commit a violation of [21 U.S.C. 841] shall be subject to the same penalties as those

            prescribed for the offense

                      32.       In addition, Title 18 U.S.C. § 981(a)(1)(B)(i), allows for the civil forfeiture of any

            property, real or personal, constituting, derived form, or traceable to, any proceeds obtained

            directly or indirectly from the manufacture, importation, sale or distribution of a controlled

            substance or any property used to facilitate such an offense.

                      33.       Pursuant to Title 18 U.S.C. § 981(b), property subject to forfeiture pursuant to

            Title 18 U.S.C. §§ 981(a)(1)(A) or 981(a)(1)(C), may be seized by the United States pursuant to

            a warrant obtained in the same manner as provided or a search warrant under the Federal Rules

            of Criminal Procedure.

                      34.       With regard to the crime of money laundering, Title 18 U.S.C. § 982(a)(1)
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instructs that a court, in imposing sentence on a person convicted of an offense in violation of

Title 18 U.S.C. §§ 1956 or 1957, shall order the person to forfeit to the United States, any real or

personal property involved in such offense, or any property traceable to such property.

(emphasis added).

       35.     Moreover, Title 18 U.S.C. § 981(a)(1)(C) provides that any property, real or

personal, which constitutes or is derived from proceeds traceable to a violation of Title 21

U.S.C. § 841, as “specified unlawful activity” (as defined in Title 18 U.S.C. § 1956(c)(7)) or

conspiracy to commit a violation of Title 21 U.S.C. § 841, is subject to forfeiture to the United

States. (emphasis added)

       36.     Furthermore, Title 18 U.S.C. § 981(a)(1)(A) provides for forfeiture of any

property, real or personal, involved in a transaction or attempted transaction in violation of Title

18 U.S.C. §§1956 or 1957, or any property traceable to such property. (emphasis added)

       37.     Title 18 U.S.C. § 982(b)(1) authorizes the issuance of a criminal seizure warrant

under Title 21, U.S.C. § 853(f) which provides in relevant part that a seizure warrant for property

subject to forfeiture may be sought in the same manner in which a search warrant may be issued.

A court shall issue a criminal seizure warrant if it determines that the property to be seized

would, in the event of a conviction, be subject to forfeiture and that a restraining order would be

inadequate to assure the availability of the property for forfeiture.

       38.     Neither a restraining order nor an injunction is sufficient to guarantee the

availability of the Subject Domain Names for forfeiture. By seizing the Subject Domain Names

and redirecting it to another domain, the Government will prevent third parties from acquiring

the name and using it to commit additional crimes. Furthermore, seizure of the Subject Domain

Names will prevent third parties from continuing to access the Subject Domain Names’ domain
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in their present form.

       39.     Title 18 U.S.C. § 981(h) provides that venue for civil forfeitures brought under

this section lies in the district either where the defendant owning the property is located or in the

judicial district where the criminal prosecution is brought.

       40.     Title 21 U.S.C. § 853(l) provides that district courts of the United States shall

have jurisdiction to enter orders as provided in this section without regard to the location of any

property which may be subject to forfeiture or ordered forfeited under this section.

       41.     As set forth above, there is probable cause to believe that the Subject Domain

Names are subject to civil and criminal forfeiture because it was used in the commission of

violations of Title 21 U.S.C. § 841 (distribution of a controlled substance) and Title 21 U.S.C. §

846 (conspiracy to distribute a controlled substance). Specifically, the Subject Domain Names

were involved in – and enabled –the facilitation of the sale and distribution of controlled

pharmaceutical drugs worldwide, which were conducted in violation of the U.S.C.

                                    SEIZURE PROCEDURE

       42.     As detailed in Attachment A, upon execution of the seizure warrant, the registrar

for the Subject Domain Names, ending in “.com” and “.net” are Verisign, Inc., which has its

headquarters at 12061 Bluemont Way, Reston, Virginia, shall be directed to restrain and lock the

Subject Domain Names pending transfer of all right, title, and interest in the SUBJECT

DOMAIN NAME to the United States upon completion of forfeiture proceedings, to ensure that

changes to the Subject Domain Names cannot be made absent court order or, if forfeited to the

United States, without prior consultation with DEA or DOJ.

       43.     In addition, upon seizure of the Subject Domain Names by DEA, will be directed

to associate the Subject Domain Names to a new authoritative name server(s) to be designated by
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a law enforcement agent. The Government will display a notice on the domain to which the

Subject Domain Names will resolve indicating that the sites have been seized pursuant to a

warrant issued by this court.

                                       REQUEST FOR SEALING

       44.          It is respectfully requested that this Court issue an order sealing all papers

submitted in support of this application, including the application, affidavit, and search warrant.

The investigation of the criminal activity discussed above is ongoing and may involve multiple

targets, many of whom may not have yet been identified. Moreover, the DEA is not aware of any

potential targets that have knowledge of its investigation. Disclosure of the search warrant, this

affidavit, or this application may result in the dissemination of these materials to the targets, who

may destroy evidence or otherwise evade the investigation. Disclosure of the contents of this

affidavit and related documents might have a significant and negative impact on the continuing

investigation and might severely jeopardize its effectiveness.

       45.     Although the above documents may be sealed, it is respectfully requested that the

data obtained as a result of the search warrant may be disclosed to third parties to facilitate

analysis. I further request that the Court issue an order commanding VeriSign, Inc, not notify any

person of the existence of the search warrant under Title 18 U.S.C. § 2705(b). Finally, and in

order to protect the ongoing investigation and in consideration that much of the information set

forth above is not otherwise publicly available, I respectfully request that this Affidavit be filed

and kept under seal until further order of this Court.
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                                              CONCLUSION

            46.     For the foregoing reasons, I submit that there is probable cause to believe that the

     Subject Domain Names are used in and/or intended to be used in facilitating and/or committing

     the Subject Offenses. Accordingly, the Subject Domain Names are subject to forfeiture to the

     United States pursuant to Title 21 U.S.C. § 853, Title 18 U.S.C. §§ 981 and 982, and Title 21

     U.S.C. § 841 (distribution of a controlled substance), Title 21 U.S.C. § 846 (conspiracy to

     distribute a controlled substance), and I respectfully request that the Court issue a seizure warrant

     for the Subject Domain Names.

            47.     Because the warrant will be served on VeriSign, Inc., which controls the Subject

     Domain Names, and VeriSign, Inc., thereafter, at a time convenient to it, will transfer control of

     the Subject Domain Names to the government, there exists reasonable cause to permit the

     execution of the requested warrant at any time in the day or night.



                                                   Respectfully submitted,



                                                              ~~
                                                   ________________________________________
                                                   Joshua Black, Special Agent
                                                   Drug Enforcement Administration


SwornSubscribed to and
      to before me     sworn before
                   by reliable        me on
                               electronic   this ______ day of -DQXDU\.
                                          means:

Date: 01/06/2021

City and State: Omaha, Nebraska                                   ~-
                                                   ______________________________________
                                                   0,&+$(/'1(/621
                                                                  Michael D. Nelson, U.S. Magistrate Judge
                                                   United States Magistrate Judge
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                                          ATTACHMENT A


I.       Seizure Procedure

            A.      The seizure warrant will be presented in person or transmitted via
            facsimile or email to personnel of the corresponding domain name registry listed
            in section II ("Subject Registry") and the domain name registrars based in the
            United States listed in Section III ("Subject Registrars") who will be directed, for
            the domain names listed in section Iv ("Subject Domain Names") for which it
            serves as the top-level domain registry, to make any changes necessary to restrain
            and lock the domain name pending transfer of all rights, title, and interest in the
            Subject Domain Name to the United States upon completion of forfeiture
            proceedings.

            B.      Upon seizure of the Subject Domains, the Subject Registry shall point the
            subject to Domain Name to IP address 162.159.24.49 (NSl.JUSTHOST.COM)
            and/or 162.159.25.241 (NS2.JUSTHOST.COM) at which the Government will
            display a web page with the following notice:

            "This website has been seized by the United States Drug Enforcement
            Administration in accordance with a seizure warrant issued pursuant to 18 U.S.C.
            §§ 981, 982, and 21 U.S.C. § 853 by the United States District Court for the
            District of Nebraska as part of a joint law enforcement action by: the United
            States Drug Enforcement Administration and the United States Food and Drug
            Administration."

            C.      The Subject Registry is directed to take all steps necessary to lock the
            Subject Domain Names at the registry level to ensure that changes to the Subject
            Domain Names cannot be made absent court order or, if forfeited to the United
            States, without prior consultation with the DEA. The DNS record should be
            altered to remove any applicable name servers.

            D.      Upon seizure of the Subject Domain, any records, databases, tables, or
            documents that are used by the Subject Registrar to identify the owner of the
            subject Domain Name shall be modified to reflect the seizure of the Subject
            Domain Name. These changes related to the following records if they exist:

                   1.      The "Registrant", "Technical Contact", "Administrative
                           Contact", "Billing Contact", and "Zone Contact" will
                           reflect the following information"
                                    a.      Name: "Drug Enforcement Administration"
                                    b.      Address: 10555 Furnace Road, Lorton, VA 22079
                                    c.      Country: USA
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                                     d.     Telephone: 1-571-362-7251
                                     e.     Email: Phillip.J.Dimmer@usdoj.gov
                                     f.     Fax: 571-362-5785

                      2. All name server fields will be changed to reflect
                         ''NS1.REDIRECT.DEA.GOV" and/or
                         "NS2 .REDIRECT.DEA.GOV"

                      3. Any remaining fields will be changed so they do not reflect any
                         individual or entity.

               E.    Take all reasonable measures to propagate the necessary changes through
               the Domain Name System as quickly as practicable.

               F.     Provide reasonable assistance in implementing the Terms of this Order
               and take no unreasonable action to frustrate the implementation of this Order.


II.       Subject Registry

               Verisign, Inc
               12061 Bluemont Way Reston, Virginia 20190


III.      Subject Registrars

               Dreamscape Networks International PTE LTD
               Suite 4.07,
               247 Coward Street
               Mascot, NSW 2020
               Telephone: +91-8-9422-0894

               PublicDomainRegistry .com
               501, IT Building No. 3,
               NESCO IT Park, NESCO Complex,
               Western Express Highway, Goregaon (East) Mumbai- 400063
               Maharashtra, India
               Telephone +91-22-67209000

               Guangdong Nicenic Technology Co., Ltd.
               7A-1, 7th Floor, No. 6 Jingyuan Road, Jida
               Industrial Zone, Zhuhai, Guangdong, 519000
               Telephone: 0756-3366365
               Fax: 0756-3366385-806

               Moniker Online Services, LLC
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             1994 East Sunrise Boulevard #223
             Fort Lauderdale, FL 33304
             Telephone: 844-760-0251
             Fax: 1-954-337-0662

             Mesh Digital Limited
             The Old Forge, Shackstead Lane
             Surrey Godalming, GU7-1RJ
             Telephone: +44-1483-304-030

             Deep Dive Domains, LLC
             5335 Gate Parkway
             Jacksonville, Florids 32256
             Telephone: 1-888-642-9675

             OnlineNIC, Inc.
             3027 Teagarden Street
             San Leandro, California 94577
             Telephone: 1-510-769-8492
             Fax: 1-510-769-8487

             Dynadot, LLC
             210 S Ellsworth Ave #345
             San Mateo, California 94401
             Telephone: 1-866-262-3399
             Fax: 1-415-869-2893

             DropCatch.com 1300 LLC
             2635 Walnut Street
             Denver, Colorado 80205
             Telephone: 1-303-502-9098
             Fax: 1-303-893-0507

             NameSilo LLC
             1300 E Missouri A venue
             Suite A-110
             Phoenix, Arizona 85014
             Telephone: 602-492-8198


IV.      Subject Domain Names

             apexmedico.net
             bestdrugcorner.com
             chemandpills.com
             drugs-orderonline.com
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       drugs-point.com
       drugstrack.com
       healthmartpharma.com
       legitdrugs.net
       legitpharmacy.net
       legitrxonline.com
       legitrxshop.com
       medsovernight.net
       my-carepharmacy.com
       onedrugstore.net
       onlinerxhub.com
       pandapharmacy.com
       pharmacyinn.com
       pharmacy-xl.com
       pillspoint.com
       rxdrugpharmacy.com
       rxdrugsorder.com
       rxeasymeds.com
       rxmedzonline.net
       rxovernight.net
       rxpharmacyusa.com
       rxpharmaplus.net
       shopdrugsonline.net
       silkroadmeds.com
       silkroadmedsonline.com
       thedrugsonline.net
       wandbd.com
                                 8:21-mj-00016-MDN Doc # 1 Filed: 01/06/21 Page 23 of 28 - Page ID # 23

     AO 109 (Rev. 12/09) Warrant to Seize Property Subject to Forfeiture


                                                                    UNITED STATES DISTRICT COURT
                                                                                                                             for the
                                                                                              __________
                                                                                                   DistrictDistrict of __________
                                                                                                            of Nebraska
                                                                                                                                                           6($/('
                              In the Matter of the Seizure of                                                                       )
                     ((Briefly
                           f y describe the pproperty
                                                p y to be seized))                                                                  )
drugstrack.com, silkroadmeds.com, silkroadmedsonline.com, bestdrugcorner.com, rxeasymeds.com, pandapharmacy.com, legitrxshop.com,
                                                                                                                                    )      Case No. 8:2MJ6
healthmartpharma.com, legitrxonline.com, rxpharmacyusa.com,wandbd.com, chemandpills.com, pharmacyinn.com, rxdrugsorder.com, my•
carepharmacy.com, drugs-orderonline.com, pillspoint.com, onlinerxhub.com, pharmacy-xi.com, rxdrugpharmacy.com, drugs-point.com,     )
apexmedico.net, rxpharmaplus.net, rxmedzonli ne.net, shopdrugsonline.net, medsovernight.net, thedrugsonline.net, legitdrugs.net,    )
legitpharmacy.net, rxovernight.net,andonedrugstore.net
                                                WARRANT TO SEIZE PROPERTY SUBJECT TO FORFEITURE

    To:              Any authorized law enforcement officer

            An application by a federal law enforcement officer or an attorney for the government requests that certain
    property located in the                                     District of            Nebraska         be seized as
    being subject to forfeiture to the United States of America. The property is described as follows:
    See Attachment A




                     I find that the affidavit(s) and any recorded testimony establish probable cause to seize the property.

                     YOU ARE COMMANDED to execute this warrant and seize the property on or before                                                                                      
                                                                                                                                                                                    (not to exceed 14 days)

                       u in the daytime – 6:00 a.m. to 10:00 p.m.                                                                       ✔ at any time in the day or night, as I find reasonable
                                                                                                                                        u
                                                                                                                                           cause has been established.

             Unless delayed notice is authorized below, you must also give a copy of the warrant and a receipt for the
    property taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt
    at the place where the property was taken.

            An officer present during the execution of the warrant must prepare, as required by law, an inventory of any
    property seized and the officer executing the warrant must promptly return this warrant and a copy of the inventory to
    United States Magistrate Judge                                     0LFKDHO'1HOVRQ                                                                                                                     .
                                                                                                                                                  (name)

               ✔ I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
               u
    of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
                                                   ✔ for
    searched or seized (check the appropriate box) u         30     days (not to exceed 30).

                                                                                                 u until, the facts justifying, the later specific date of                                                    .

                                                          1/6/2021 3:53 pm
    Date and time issued:
                                                                                                                                                             Judge’s signature


    City and state:                          Omaha, Nebraska                                                                              0LFKDHO'1HOVRQ,UnitedStatesMagistrateJudge
                                                                                                                                                           Printed name and title
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AO 109 (Rev. 12/09) Warrant to Seize Property Subject to Forfeiture (Page 2)

                                                                           Return
Case No.:                                     Date and time warrant executed:          Copy of warrant and inventory left with:
 8:2MJ6
Inventory made in the presence of:


Inventory of the property taken:




                                                                       Certification


         I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the designated judge.


Date:
                                                                                            Executing officer’s signature



                                                                                               Printed name and title
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                                          ATTACHMENT A


I.       Seizure Procedure

            A.      The seizure warrant will be presented in person or transmitted via
            facsimile or email to personnel of the corresponding domain name registry listed
            in section II ("Subject Registry") and the domain name registrars based in the
            United States listed in Section III ("Subject Registrars") who will be directed, for
            the domain names listed in section Iv ("Subject Domain Names") for which it
            serves as the top-level domain registry, to make any changes necessary to restrain
            and lock the domain name pending transfer of all rights, title, and interest in the
            Subject Domain Name to the United States upon completion of forfeiture
            proceedings.

            B.      Upon seizure of the Subject Domains, the Subject Registry shall point the
            subject to Domain Name to IP address 162.159.24.49 (NSl.JUSTHOST.COM)
            and/or 162.159.25.241 (NS2.JUSTHOST.COM) at which the Government will
            display a web page with the following notice:

            "This website has been seized by the United States Drug Enforcement
            Administration in accordance with a seizure warrant issued pursuant to 18 U.S.C.
            §§ 981, 982, and 21 U.S.C. § 853 by the United States District Court for the
            District of Nebraska as part of a joint law enforcement action by: the United
            States Drug Enforcement Administration and the United States Food and Drug
            Administration."

            C.      The Subject Registry is directed to take all steps necessary to lock the
            Subject Domain Names at the registry level to ensure that changes to the Subject
            Domain Names cannot be made absent court order or, if forfeited to the United
            States, without prior consultation with the DEA. The DNS record should be
            altered to remove any applicable name servers.

            D.      Upon seizure of the Subject Domain, any records, databases, tables, or
            documents that are used by the Subject Registrar to identify the owner of the
            subject Domain Name shall be modified to reflect the seizure of the Subject
            Domain Name. These changes related to the following records if they exist:

                   1.      The "Registrant", "Technical Contact", "Administrative
                           Contact", "Billing Contact", and "Zone Contact" will
                           reflect the following information"
                                    a.      Name: "Drug Enforcement Administration"
                                    b.      Address: 10555 Furnace Road, Lorton, VA 22079
                                    c.      Country: USA
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                                     d.     Telephone: 1-571-362-7251
                                     e.     Email: Phillip.J.Dimmer@usdoj.gov
                                     f.     Fax: 571-362-5785

                      2. All name server fields will be changed to reflect
                         ''NS1.REDIRECT.DEA.GOV" and/or
                         "NS2 .REDIRECT.DEA.GOV"

                      3. Any remaining fields will be changed so they do not reflect any
                         individual or entity.

               E.    Take all reasonable measures to propagate the necessary changes through
               the Domain Name System as quickly as practicable.

               F.     Provide reasonable assistance in implementing the Terms of this Order
               and take no unreasonable action to frustrate the implementation of this Order.


II.       Subject Registry

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               12061 Bluemont Way Reston, Virginia 20190


III.      Subject Registrars

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               Suite 4.07,
               247 Coward Street
               Mascot, NSW 2020
               Telephone: +91-8-9422-0894

               PublicDomainRegistry .com
               501, IT Building No. 3,
               NESCO IT Park, NESCO Complex,
               Western Express Highway, Goregaon (East) Mumbai- 400063
               Maharashtra, India
               Telephone +91-22-67209000

               Guangdong Nicenic Technology Co., Ltd.
               7A-1, 7th Floor, No. 6 Jingyuan Road, Jida
               Industrial Zone, Zhuhai, Guangdong, 519000
               Telephone: 0756-3366365
               Fax: 0756-3366385-806

               Moniker Online Services, LLC
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             1994 East Sunrise Boulevard #223
             Fort Lauderdale, FL 33304
             Telephone: 844-760-0251
             Fax: 1-954-337-0662

             Mesh Digital Limited
             The Old Forge, Shackstead Lane
             Surrey Godalming, GU7-1RJ
             Telephone: +44-1483-304-030

             Deep Dive Domains, LLC
             5335 Gate Parkway
             Jacksonville, Florids 32256
             Telephone: 1-888-642-9675

             OnlineNIC, Inc.
             3027 Teagarden Street
             San Leandro, California 94577
             Telephone: 1-510-769-8492
             Fax: 1-510-769-8487

             Dynadot, LLC
             210 S Ellsworth Ave #345
             San Mateo, California 94401
             Telephone: 1-866-262-3399
             Fax: 1-415-869-2893

             DropCatch.com 1300 LLC
             2635 Walnut Street
             Denver, Colorado 80205
             Telephone: 1-303-502-9098
             Fax: 1-303-893-0507

             NameSilo LLC
             1300 E Missouri A venue
             Suite A-110
             Phoenix, Arizona 85014
             Telephone: 602-492-8198


IV.      Subject Domain Names

             apexmedico.net
             bestdrugcorner.com
             chemandpills.com
             drugs-orderonline.com
8:21-mj-00016-MDN Doc # 1 Filed: 01/06/21 Page 28 of 28 - Page ID # 28




       drugs-point.com
       drugstrack.com
       healthmartpharma.com
       legitdrugs.net
       legitpharmacy.net
       legitrxonline.com
       legitrxshop.com
       medsovernight.net
       my-carepharmacy.com
       onedrugstore.net
       onlinerxhub.com
       pandapharmacy.com
       pharmacyinn.com
       pharmacy-xl.com
       pillspoint.com
       rxdrugpharmacy.com
       rxdrugsorder.com
       rxeasymeds.com
       rxmedzonline.net
       rxovernight.net
       rxpharmacyusa.com
       rxpharmaplus.net
       shopdrugsonline.net
       silkroadmeds.com
       silkroadmedsonline.com
       thedrugsonline.net
       wandbd.com
